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                                   UNITED STATES DISTRICT COURT
                                   FOR THE DISTRICT OF MARYLAND


 LESTER LEE,

           PLAINTIFF

 v.
                                                                Case No. 8:24-cv-01205-TJS
 BROOKSIDE PARK CONDOMINIUM,
 INC., METROPOLIS (aka MCM, INC.),
 RAMMY AZOULAY AND LAMONT
 SAVOY

           DEFENDANTS


                                      JOINT STATUS REPORT

          Defendants BROOKSIDE PARK CONDOMINIUM, INC., METROPOLIS (aka

MCM, INC.), AND RAMMY AZOULAY and Plaintiff file this JOINT Status Report and state

as follows:

              Plaintiff has not answered written discovery.      Per local rules, the parties had a

conference call on 2/12/25 regarding the outstanding discovery and defendant’s counsel emailed

a draft motion to compel to plaintiff’s lawyer.           Plaintiff’s lawyer promised answers to

interrogatories and document requests by February 19, 2025.

          A Prince George’s health inspector deposition was set for 2/17. He could not make it and

it and plaintiff’s deposition are set for 2/25/25 at 11 am.




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 Respectfully submitted,



 /s/Anthony D. Dwyer
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 Inc.), and Rammy Azoulay


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